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 1 YAAKOV M. ROTH
   Acting Assistant Attorney General
 2 Civil Division
   DREW ENSIGN
 3
   Deputy Assistant Attorney General
 4 SARAH L. VUONG (CA Bar 258528)
   Assistant Director
 5 WILLIAM H. WEILAND (Mass. Bar 661433)
   Senior Litigation Counsel
 6 LAUREN BRYANT (NY Bar 5321880)
   ANNA DICHTER (NJ Bar 304442019)
 7
   JEFFREY HARTMAN (WA Bar 49810)
 8 LUZ MARIA RESTREPO (NY Bar 4907077)
   CATHERINE ROSS (DC Bar 9007404)
 9 AMANDA SAYLOR (FL Bar 1031480)
   ERIC SNYDERMAN (VA Bar 99563)
10 Trial Attorneys

11 U.S. Department of Justice, Civil Division
   Office of Immigration Litigation
12 General Litigation and Appeals Section
   P.O. Box 868, Ben Franklin Station
13 Washington, DC 20044

14 Attorneys for Defendants

15                                   UNITED STATES DISTRICT COURT
16                                 NORTHERN DISTRICT OF CALIFORNIA
17                                        SAN FRANCISCO DIVISION
18   NATIONAL TPS ALLIANCE, et al.,
                                                         Case No. 3:25-cv-1766-EMC
19
                 Plaintiff,
20          v.
                                                         INDEX OF ADMINISTRATIVE RECORD
21   KRISTI NOEM, in her official capacity as            VENEZUELA TERMINATION
     Secretary of Homeland Security, et al.,
22
                 Defendants.
23

24

25         Defendants in the above-captioned matter hereby file the Administrative Record for the
     Venezuela Termination. 1 The Administrative Record includes the following documents:
26
            1
27           The filing of this Administrative Record is not a concession that the decision of Secretary Kristi
     Noem is subject to judicial review.
28
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 1                      Index of Administrative Record – Venezuela Termination

 2                  Document Name                                                            Page(s)
 3            1.    Federal Register Notice of Termination of October 3, 2023 Designation    0001-0005
                    of Venezuela for Temporary Protected Status (Feb. 5, 2025).
 4            2.    USCIS Notice: Determination re Venezuela’s 2023 Temporary                0006
                    Protected Status Designation (Feb. 1, 2025).
 5            3.    Decision Document–USCIS Notice: Extension of the 2023 Designation        0007
                    of Venezuela for Temporary Protected Status (Jan. 10, 2025)
 6
              4.    USCIS Vacatur of 2025 Temporary Protected Status Decision for            0008-0015
 7                  Venezuela (2025).
              5.    Decision Document–USCIS Notice: Termination of the October 23,           0016-0030
 8                  2023 Designation of Venezuela for Temporary Protected Status (2025).
              6.    Matter of Dhanasar, 26 I&N Dec. 884 (Dec. 27, 2016).                     0031-0041
 9            7.    El Pais: Venezuela grapples with economic collapse (Jan. 17, 2025).      0042-0050
10            8.    El Pais: Venezuela experiences an economic recovery in times of          0051-0062
                    electoral uncertainty (Jul. 22, 2024).
11            9.    Executive Order 14150 of January 20, 2025: America First Policy          0063
                    Directive to the Secretary of State
12                  (Jan. 29, 2025).
              10.   In re D-J-, 23 I&N Dec. 572 (Apr. 17, 2003).                             0064-0077
13
              11.   Center for Strategic and International Studies: The Persistence of the   0078-0085
14                  Venezuelan Migrant and Refugee Crisis (Nov. 27, 2023).
              12.   Congressional Research Service–Venezuela: Political Crisis and U.S.      0086-0088
15                  Policy (Jan. 13, 2025).
              13.   Federal Register Notice of Designation of Venezuela for Temporary        0089-0096
16                  Protected Status and Implementation of Employment Authorization for
17                  Venezuelans Covered by Deferred Enforcement Departure (Mar. 9,
                    2021).
18            14.   Executive Order 14159 of January 20, 2025: Protecting the American       0097-0102
                    People Against Invasion (Jan. 29, 2025).
19            15.   Executive Order 14157 of January 20, 2025: Designating Cartels and       0103-0104
                    Other Organizations as Foreign Terrorist Organizations and Specially
20
                    Designated Global Terrorists (Jan. 29, 2025).
21            16.   Federal Register Notice of Extension of Designation and Redesignation    0105-0107
                    of Liberia Under Temporary Protected Status Program (Apr. 7, 1997).
22            17.   Federal Register Notice of Extension and Redesignation of Venezuela      0108-0117
                    for Temporary Protected Status (Oct. 3, 2023).
23            18.   Federal Register Notice of Extension of the 2023 Designation of          0118-0129
24                  Venezuela for Temporary Protected Status (Jan. 17, 2025).
              19.   Federal Register Notice of Extension of the Designation of Venezuela     0130-0138
25                  for Temporary Protected Status (Sept. 8, 2022).
              20.   Federal Register Notice of Implementation of a Parole Process for        0139-0149
26                  Venezuelans (Oct. 19, 2022).
              21.   Federal Register Notice of Implementation of a Parole Process for        0150-0153
27
                    Venezuelans (Jan. 9, 2023).
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 1            22. Insight Crime: Tren de Aragua (Jul. 12, 2024).                              0154-0160
              23. Insight Crime: Why is Venezuela’s Crime Rate Falling?                       0161-0164
 2                (May 28, 2024).
 3            24. Inter-American Commission on Human Rights Annual Report 2023:               0165-0209
                  Chapter IV.B: Venezuela (2023).
 4            25. Letter From Secretary of State Antony J. Blinken to Alejandro               0210-0221
                  Mayorkas (Sept. 24, 2024).
 5            26. Letter from Secretary of State Marco Rubio to Kristi Noem (Jan. 31,         0222-0223
                  2025).
 6
              27. NPR: Why Venezuela is no longer in freefall (May 8, 2024).                  0224-0240
 7            28. Situation of human rights in the Bolivarian Republic of Venezuela –         0241-0245
                  Report of the United Nations High commissioner for Human Rights (Jul.
 8                1, 2024).
              29. Pan American Health Organization: Venezuela–Country Profile (Sept.          0246-0252
 9                24, 2021).
10            30. Refugee and Migrant Response Plan 2021 – For Refugees and Migrants          0253-0271
                  From Venezuela (2021).
11            31. Reuters: Venezuela inflation has cooled – but voters say they still can’t   0272-0284
                  make ends meet (Jul. 23, 2024).
12            32. Federal Register Notice of Six-Month Extension of Temporary                 0285-0290
                  Protected Status Benefits for Orderly Transition Before Termination of
13
                  Liberia’s Designation for Temporary Protected Status (Sept. 26, 2016).
14            33. Federal Register Notice of Termination of the Designation of Sierra         0291-0294
                  Leone Under the Temporary Protected Status Program; Extension of
15                Employment Authorization Documentation
                  (Sept. 3, 2003).
16            34. Federal Register Notice of Termination of Designation of Liberia Under      0295-0297
17                Temporary Protected Status Program After Final 6-Month Extension
                  (Mar. 31, 1998).
18            35. Federal Register Notice of Termination of Designation of Lebanon            0298-0300
                  Under Temporary Protected Status Program (Feb. 8, 1993).
19            36. Federal Register Notice of Termination of the Designation of El             0301-0307
                  Salvador for Temporary Protected Status (Jan. 18, 2018).
20
              37. Federal Register Notice of Termination of the Designation of Sudan for      0308-0314
21                Temporary Protected Status (Oct. 11, 2017).
              38. The Cost of the Border Crisis: Testimony Before the House Budget            0315-0317
22                Committee (May 8, 2024).
              39. The Fiscal Burden of Illegal Immigration on United States Taxpayers         0318-0408
23                (2023).
24            40. The New Humanitarian–Hunger, healthcare, and schools: Reasons to            0409-0423
                  leave Venezuela (along with a Maduro poll win)
25                (Jun. 25, 2024).
              41. USCIS Refuge, Asylum and International Operations STAR Research             0424-0454
26                Branch: Temporary Protected Status Considerations – Bolivarian
                  Republic of Venezuela (Aug. 2024).
27
              42. UNHCR Global Focus: Venezuela situation (2024).                             0455-0457
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 1              43. Federal Register Notice of Vacatur of 2025 Temporary Protected Status         0458-0460
                    Decision for Venezuela (Feb. 3, 2025).
 2              44. Venezuelan Observatory of Violence: Annual Report (2023).                     0461-0491
 3              45. El Pais: Venezuela calls on retired teachers to return to school amid staff   0492-0500
                    shortages (Oct. 10, 2024).
 4              46. Associated Press: Major power outage hits Venezuela’s capital, with           0501-0505
                    Maduro government blaming ‘sabotage’ (Aug. 30, 2024).
 5              47. Associated Press: Tren de Aragua gang started in Venezuela’s prisons          0506-0513
                    and now spreads fear in the U.S. (Sep. 24, 2024).
 6
                48 Associated Press: U.S. sanctions a Venezuela gang for spreading                0514-0520
 7                  criminal activity across Latin America (Jul. 11, 2024).
                49. Proclamation 10886: Declaring a National Emergency at the Southern            0521-0523
 8                  Border of the United States (Jan. 20, 2025).
                50. Press Statement from Marco Rubio: Priorities and Mission of the               0524-0529
 9                  Second Trump Administration’s Department of State (Jan. 22, 2025).
10
     Dated: April 7, 2025                                Respectfully submitted,
11
                                                         YAAKOV M. ROTH
12
                                                         Acting Assistant Attorney General
13                                                       Civil Division

14                                                       DREW ENSIGN
                                                         Deputy Assistant Attorney General
15
                                                         WILLIAM H. WEILAND (Mass. Bar 661433)
16
                                                         Senior Litigation Counsel
17
                                                         ERIC SNYDERMAN (VA Bar 99563)
18                                                       ANNA DICHTER (NJ Bar 304442019)
                                                         LAUREN BRYANT (NY Bar 5321880)
19                                                       AMANDA SAYLOR (FL Bar 1031480)
                                                         CATHERINE ROSS (DC Bar 9007404)
20
                                                         LUZ MARIA RESTREPO (NY Bar 4907077)
21                                                       JEFFREY HARTMAN (WSBA 49810)
                                                         Trial Attorneys
22
                                                         /s/ Sarah L. Vuong
23                                                       SARAH L. VUONG (CA Bar 258528)
24                                                       Assistant Director
                                                         U.S. Department of Justice, Civil Division
25                                                       Office of Immigration Litigation
                                                         General Litigation and Appeals Section
26                                                       P.O. Box 868, Ben Franklin Station
                                                         Washington, DC 20044
27                                                       Tel: (202) 305-1263
28
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 1                                             Sarah.L.Vuong@usdoj.gov

 2                                             Attorneys for the Defendants
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